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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMARCUS FENNELL, et al. : CIVIL ACTION
v. : NO. 19-111

WARDEN DAVID PENCHISHEN, e¢ al.

MEMORANDUM
KEARNEY, J. April 30, 2019

Invoking their equal protection rights, five prisoners incarcerated at the Northampton
County Prison pro se sue several prison officials and agents in their individual and official
capacities because someone allegedly disposes of commissary items of male inmates but not
female inmates when the prison places them in disciplinary segregation. They do not sue a state
entity or decision-making body setting a policy or rule which may violate the male inmates’ equal
protection rights. Each prisoner must plead each defendant’s role in an alleged policy treating
inmates differently based on sex. When, as today, the prisoners base an equal protection claim on
undescribed research confirming different treatment without identifying a single defendant’s role
in such a policy, we must dismiss the equal protection claim against the individual defendants. We
grant the prisoners leave to timely file an amended complaint if they can plead equal protection
claims against a state entity or decision-making body or show the individual liability of a prison

agent sued by the prisoners for the alleged equal protection violation.
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I. Alleged facts.

JaMarcus Fennell, George Bloomer, Tyrell Vosper, Benjamin Ragsdale, and John Hofer
are incarcerated in the Northampton County Prison.' At some point before November 6, 2018, the
Prison placed Mr. Fennell in disciplinary solitary confinement and cleared out his former cell.” On
November 6, 2018, Mr. Fennell moved out of disciplinary solitary confinement.’ Prison officials
failed to return $89.00 worth of soups and chips Mr. Fennell purchased from the prison
commissary store before his solitary confinement.‘ An unidentified clothing room officer told Mr.
Fennell “all Lieutenants confiscate all commissary items from inmates when they (inmates) are
issued a misconduct.”* Lieutenants Rinker, Henninger and Zeigler told Mr. Fennell it is policy for
Lieutenants to confiscate commissary items after an inmate receives a misconduct.® The Director,
Warden, Jail Advisory Board, and County Council Jail Liaison “all sit down together and create
the policies.”’ Prison deputies and hearing examiners then enforce the policies through the
Lieutenants.’ An unidentified person told Mr. Fennell he would not be getting his commissary
items back and would not be reimbursed.”

Lieutenants Rinker, Henninger and Zeigler refused to give Mr. Fennell a grievance form
explaining he could not grieve the issue.!° Mr. Fennell found a grievance form and submitted it,
complaining about the confiscation of his commissary items.'' Unnamed prison officials answered
the grievance stating perishable items were not stored.’” Mr. Fennell appealed twice.!? Unnamed
prison officials responded to the first appeal stating Mr. Fennell used the wrong form of grievance
and was automatically denied.'* No one responded to Mr. Fennell’s second appeal.!° Mr. Fennell
also alleges, based on undescribed research, the commissary policy did not apply on the women’s

side of the jail.'®
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Mr. Fennell sued and attempted to assert claims on behalf of forty fellow prisoners at
Northampton County Prison.'’ We denied his alleged class action status as he cannot serve as a
class representative and is not licensed to represent other persons in court. We dismissed all of Mr.
Fennell’s claims under 28 U.S.C. § 1915(e)(2)(B)(ii) except his equal protection claim.'® We
allowed other prisoners to join the suit.'!? George Bloomer, John Hofer, Benjamin Ragsdale, and
Tyrell Vosper joined Mr. Fennell’s case, but allege no lost commissary items.”°

Plaintiffs sue Prison Warden David Penchishen, Director of Corrections James Kostura,
Jail Advisory Board Chairman Daniel Hood, County Council Jail Liaison Lori Heffner, Jail
Advisory Board Vice Chairperson Dr. Michelle Santiago, Jail Advisory Board Member Jodi
Ruggiero, Jail Advisory Board Member Sharon Garretson, Jail Advisory Board Member Robin
Rivera, Jail Advisory Board Member Edward Boscola, Head of Hearing Examiners John Harman,
Deputy Warden James Kleinman, Deputy Warden Mark Bartholomew, Captain Jason Werley,
Captain Mills, Captain David Collins, Lieutenant Diacogiannis, Lieutenant Longenbach,
Lieutenant Heinrich, Lieutenant Goldy, Lieutenant Hoffman, Lieutenant Williams, Lieutenant
Zeigler, Lieutenant Henninger, Lieutenant Ashley Warning, Lieutenant Cruz, Lieutenant Michael
Chewblowski, Lieutenant Ackerman, Lieutenant Chad Rinker, and Lieutenant VanArsdale in their

individual and official capacities.
I. —— Analysis.”!

The remaining claim of equal protection is based on Mr. Fennell’s belief, based on
undescribed research, of all Defendants treating men differently than women inmates when
returning their property after they were placed in disciplinary segregation. All Defendants move
to dismiss this equal protection claim.”* Defendants argue Plaintiffs fail to state an equal protection

claim against them in their individual or official capacities.”
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We grant Defendants’ motion to dismiss Plaintiffs’ equal protection claims against
Defendants in their individual capacities with leave to allow Plaintiffs to amend their complaint to
adequately plead an equal protection claim. We grant Defendants’ motion to dismiss Plaintiffs’
official capacity claims with leave to amend the complaint to name an entity to establish a

municipal liability claim.

A. We grant Defendants’ motion to dismiss Plaintiffs’ equal protection claims
against Defendants in their individual capacities.

Defendants move to dismiss Plaintiffs’ equal protection claims against them in their
individual capacities arguing Plaintiffs fail to allege facts showing Defendants’ personal
involvement in a deprivation of Plaintiffs’ constitutional rights to equal protection. We agree.

Plaintiffs sue individual Defendants under 42 U.S.C. § 1983 alleging Defendants violated
their right to equal protection under the Fourteenth Amendment. Under the Fourteenth
Amendment, no state shall “deny to any person within its jurisdiction the equal protection of the
laws.””4 To state a claim under the Equal Protection clause, Plaintiffs must allege “the existence
of purposeful discrimination,” specifically they “received different treatment from that received
by other individuals similarly situated.”

Since they sue individual Defendants under § 1983, Plaintiffs must allege each Defendant’s
personal involvement in the constitutional violation. Plaintiffs must allege each individual
Defendant, acting under color of law, violated his constitutional or statutory rights, and caused the
alleged injury.”° Plaintiffs must allege each Defendant’s “personal involvement in the alleged
wrongdoing; liability cannot be predicated solely on the operation of respondeat superior.””’
Plaintiffs can show personal involvement with allegations of “personal direction or of actual

knowledge and acquiescence.””®
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Our Court of Appeals’ decision in Evancho v. Fisher is instructive regarding “personal
involvement” under § 1983. In Evancho, an employee of the Pennsylvania Bureau of Narcotics
Investigation and Drug Control sued former Attorney General Michael Fisher.”? The employee
alleged a retaliatory transfer after she disclosed her management’s failure to investigate missing
items and altered records.*° The plaintiff sued Attorney General Fisher alleging the attorney
general’s direct subordinates carried out the transfer. She alternatively alleged the attorney general
transferred her to either set up her dismissal or make her work life so miserable she would be
forced to resign.*! The district court dismissed the employee’s claims.

Our Court of Appeals affirmed the district court’s dismissal holding such speculation could
not establish personal involvement. The court explained the employee failed to allege specific
details showing personal involvement, such as “facts indicating that Attorney General Fisher
personally directed her transfer.” The complaint also failed to allege “even a remote suggestion

that Attorney General Fisher had contemporaneous, personal knowledge of her transfer and

acquiesced in it.”

To form the basis of their equal protection claims, Plaintiffs allege the Director, Warden,
Jail Advisory Board Members, and County Council Jail Liaison created and implemented a policy
for discarding commissary items when a prisoner receives a misconduct and subsequent solitary
confinement.** They allege “this policy is not an existing policy on the women’s side of this jail.”
Mr. Fennell alleges the destruction of $89.00 worth of commissary items under this policy. Mr.

Bloomer, Mr. Hofer, Mr. Reysdale, and Mr. Vosper do not allege the destruction of their

commissary items.
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Plaintiffs generally allege deputies and hearing examiners enforce policies through
lieutenants. They allege Lieutenants Rinker, Henninger, and Zeigler told Mr. Fennell it is policy
for all Lieutenants to confiscate commissary items after an inmate receives a misconduct.*®

We address Defendants’ motion to dismiss by grouping Defendants as follows: (1) the
Director, Warden, Jail Advisory Board Members, and County Council Jail Liaison Defendants
who create policy at the Prison; (2) the Hearing Examiner and Deputy Defendants who enforce
policy; (3) Lieutenants Rinker, Henninger, and Zeigler who told Mr. Fennell of the prison policy
to discard commissary items and denied him the ability to grieve disposal of his commissary items;
(4) the Captain Defendants, about whom Plaintiffs allege no facts; (5) the remaining Lieutenant
Defendants who also enforce policy.

The Plaintiffs do not allege the role of a Defendant in treating male inmates differently than
female inmates. Rather, the entire basis of an equal protection argument in based on Mr. Fennell’s
undescribed research which somehow lead him to conclude each of these Defendants played some
role in treating the male and female inmates differently. Plaintiffs have not sued the entity
responsible for the Prison’s policies.

But we first address the claims of Messrs. Bloomer, Hofer, Reysdale, and Vosper who
joined Mr. Fennell’s claim but fail to allege harm to them.

1. Mr. Fennell is the only Plaintiff alleging facts relating to an equal protection
claim.

Messrs. Bloomer, Hofer, Reysdale, and Vosper allege Defendants created and
implemented a policy for discarding commissary items. They allege the policy does not apply to
the women’s side of the prison. But they fail to allege differing treatment since no prison officials
discarded their commissary items. Thus, they fail to allege Defendants treated them differently

than similarly-situated individuals. We dismiss the equal protection claims of Messrs. Bloomer,
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Hofer, Reysdale and Vosper without prejudice for them to assert their claims in an amended
complaint sufficiently pleading facts to pursue an equal protection claim.

Mr. Fennell alleges differing treatment. He alleges destruction of his commissary items
and the lack of application to the women’s side of the prison. We now address whether he alleges
Defendants’ personal involvement.

2. Mr. Fennell fails to state an equal protection claim against Warden

Penchishen, Director of Corrections James Kostura, Jail Advisory Board
Chairman Daniel Hood, Jail Advisory Board Vice-Chairperson Dr. Michelle
Santiago, Jail Advisory Board Member Jodi Ruggiero, Jail Advisory Board
Member Sharon Garretson, Jail Advisory Board Member Robin Rivera, Jail
Advisory Board Member Edward Boscola, and County Council Jail Liaison
Lori Heffner in their individual capacities.

Mr. Fennell alleges Warden Penchishen; Director of Corrections Kostura; Jail Advisory
Board Members Hood, Santiago, Ruggiero, Garretson, Rivera, and Boscola; and Jail Liaison
Heffner “create the policies” in the Prison. Mr. Fennell alleges prison officials discarded his
commissary items under prison policy. He alleges the policy does not apply to the women’s side
of the jail. But he fails to allege a Defendant created a discriminatory policy. He only alleges the
commissary policy does not apply to the women’s side of the prison. Such allegation is insufficient
to establish these Defendants’ personal involvement in a deprivation of Mr. Fennell’s right to equal
protection.

We grant the motion to dismiss Mr. Fennell’s equal protection claims against Warden
Penchishen, Director of Corrections James Kostura, Jail Advisory Board Chairman Daniel Hood,
County Council Jail Liaison Lori Heffner, Jail Advisory Board Vice-Chairperson Dr. Michelle
Santiago, Jail Advisory Board Member Jodi Ruggiero, Jail Advisory Board Member Sharon

Garretson, Jail Advisory Board Member Robin Rivera, Jail Advisory Board Member Edward
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Boscola without prejudice to allow Mr. Fennell to timely amend his complaint to allege these
Defendants’ personal involvement in a constitutional violation.

3. Mr. Fennell fails to state an equal protection claim against Examiner John
Harman, Deputy Warden James Kleinman, and Deputy Warden Mark
Bartholomew in their individual capacities.

Mr. Fennell generally alleges deputies and hearing examiners enforce policies through the
Lieutenants. But such a general allegation does not show personal involvement in an equal
protection claim as to Mr. Fennell. As explained, Mr. Fennell fails to allege a discriminatory
policy. He only alleges the commissary policy does not apply to the women’s side of the prison.
He alleges no facts showing the personal involvement of Examiner Harman, Deputy Warden
Kleinman, or Deputy Warden Bartholomew in denying Mr. Fennell’s right to equal protection.
Mr. Fennell fails to state an equal protection claim against Examiner Harman, Deputy Warden
Kleinman, and Deputy Warden Bartholomew.

We dismiss the claims against Examiner Harman, Deputy Warden Kleinman, and Deputy
Warden Bartholomew without prejudice for Mr. Fennell to file an amended complaint sufficiently

pleading personal involvement if he can do so in good faith.

4. Mr. Fennell fails to state an equal protection claim against Captain Werley,
Captain Mils, or Captain Collins in their individual capacities.

Mr. Fennell names Captain Werley, Captain Mils, and Captain Collins as Defendants. But
he alleges no facts involving these Defendants. As such, he fails to state an equal protection claim
against these Defendants.

We dismiss Mr. Fennell’s equal protection claims against Captain Werley, Captain Mils,
and Captain Collins without prejudice for Mr. Fennell to file an amended complaint pleading facts

sufficient to hold them liable if he can do so in good faith.
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5. Mr. Fennell fails to state an equal protection claim against Lieutenant Rinker,
Lieutenant Henninger and Lieutenant Zeigler in their individual capacities.

Mr. Fennell alleges Lieutenants Rinker, Henninger, and Zeigler told Mr. Fennell all
Lieutenants “are responsible for the disposal of all commissary items at the issuing of any
misconduct[.]”°’ He also alleges Lieutenants Rinker, Henninger and Zeigler all refused to give Mr.
Fennell a grievance form and told Mr. Fennell he could not file a grievance about destruction of
his commissary items.

Mr. Fennell fails to allege any facts showing these Defendants’ personal involvement in a
constitutional violation. As explained, he does not allege a discriminatory policy. He does not
allege Lieutenants Rinker, Henninger, and Zeigler knew of any discriminatory policy or were
personally involved in furthering a discriminatory policy. We grant the motion to dismiss Mr.
Fennell’s equal protection claims against Lieutenants Rinker, Henninger, and Zeigler in their
individual capacities without prejudice to allow Mr. Fennell to amend his complaint to plead
personal involvement in a constitutional violation.

6. Mr. Fennell fails to state an equal protection claim against Lieutenants

Diacogiannis, Longenbach, Heinrich, Goldy, Hoffman, Williams, Warning,
Cruz, Chewblowski, Ackerman, and VanArsdale in their individual
capacities.

Mr. Fennell alleges an unidentified clothing room officer informed Mr. Fennell “all
Lieutenants confiscate all commissary items from inmates when they (inmates) are issued a
misconduct.”*® Plaintiffs also allege Lieutenants Rinker, Henninger and Zeigler told Mr. Fennell
it is policy for Lieutenants to confiscate commissary items after an inmate receives a misconduct.
But Mr. Fennell only generally alleges the remaining Lieutenant Defendants’ responsibility for

confiscating commissary items. Mr. Fennell fails to show any of these lieutenants’ personal

involvement in violating Mr. Fennell’s right to equal protection.
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We dismiss Mr. Fennell’s equal protection claims against Lieutenants Diacogiannis,
Longenbach, Heinrich, Goldy, Hoffman, Williams, Warning, Cruz, Chewblowski, Ackerman, and
VanArsdale in their individual capacities without prejudice for the plaintiffs to file an amended
complaint pleading facts sufficient to hold them individually liable if they can do so in good faith.

B. We grant Defendants’ motion to dismiss Plaintiffs’ official capacity claims
with leave to plead a claim against the municipality.

In addition to their individual capacity claims, Plaintiffs attempt to sue Defendants in their
official capacity. Defendants argue Plaintiffs fail to state a claim against Defendants in their
official capacities sufficient to establish municipal liability under Monell v. Department of Social
Services.*?

“Official capacity actions represent another way to sue the municipality of which the
officer is an agent.’4° “So long as the governmental entity receives notice of the suit and an
opportunity to respond to it, an official-capacity suit is, in all respects, to be treated as a suit against
the government entity itself.*! Plaintiffs fail to sue an entity. They only sue individuals. Assuming
Plaintiffs attempt to sue an entity, they fail to name the entity or show such entity received notice
of the suit and an opportunity to respond. Plaintiffs’ official capacity claims fail.

We dismiss Plaintiffs’ official capacity claims against Defendants without prejudice for
Plaintiffs to file an amended complaint naming the proper entity as a defendant.

III. Conclusion.
In the accompanying Order, we grant Defendants’ motion to dismiss the remaining equal

protection claims without prejudice to file an amended complaint pleading an equal protection

claim against Defendants and possibly others who may have set the alleged policy.

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! ECF Doc. No. 2 at pp. 5, 6, 16-17.
2 Id. at p. 17.

3 Id.

4 Id.

> Id.

° Id.

"Id.

8 Id.

? Id.

10 Td. at p. 19.
‘Td,

2 Td.

3 Id.

14 Td.

5 Iq.

'6 Td. at p. 17.
'7 Td. at pp. 5-9.

'8 Td. at pp. 10-15; We earlier dismissed Mr. Fennell’s class action complaint, and his § 1983
claims, with the exception of his equal protection claim. ECF Doc. No. 5.

19 ECF Doe. No. 5.

20 ECF Doc. No. 54; ECF Doc. No. 58; ECF Doc. No. 61.

21 When considering a motion to dismiss “(w)e accept as true all allegations in the plaintiff's
complaint as well as all reasonable inferences that can be drawn from them, and construe them in

a light most favorable to the non-movant” Tatis v. Allied Interstate, LLC, 882 F.3d 422, 426 (3d
Cir. 2018) (quoting Sheridan v. NGK Metals Corp., 609 F.3d 239, 262 n.27 (3d Cir. 2010)). To

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survive dismissal, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a
claim to relief that is plausible on its face.” Ashcroft v. Iqubal, 556 U.S. 662, 678 (2009) (quoting
Bell Alt. Corp v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Jd. (citing Twombly, 550 U.S. at 556). Our Court
of Appeals requires us to apply a three-step analysis under a 12(b)(6) motion: (1) “it must ‘tak(e)
note of the elements (the) plaintiff must plead to state a claim;’” (2) ‘it should identify allegations
that ‘because they are no more than conclusions, are not entitled to the assumption of truth;’” and,
(3) ‘(w)hen there are well-lead factual allegations, (the) court should assume their veracity and
then determine whether they plausibly give rise to an entitlement for relief.” Connelly v. Lane
Constr. Corp., 809 F.3d 780, 787 (3d Cir. 2016) (quoting Igubal, 556 U.S. at 675, 679).

22 Defendants Daniel Hood and Lori Vargo Heffner later joined the motion to dismiss. ECF Doc.
No. 64 at p. 1.

23 ECF Doc. No. 62 at pp. 7, 10.
*4U.S. Const. amend. XIV, § 1.

5 Reisinger v. Luzerne Cty., 712 F. Supp. 2d 332, 355 (M.D. Pa. 2010) (quoting Shuman ex rel.
Shertzer v. Penn Manor Sch. Dist., 422 F.3d 141, 151 (3d Cir. 2005)).

*6 Elmore v. Cleary, 399 F.3d 279, 281 (3d Cir. 2005) (citing Sameric Corp. of Del., Inc. v. City
of Phila., 142 F.3d 582, 590 (3d Cir. 1998)).

27 Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir. 2005) (quoting Rode v. Dellarciprete, 845 F.2d
1195, 1207 (3d Cir. 1988)).

28 Id.

*9 Id. at 349.

30 Td.

3! Td. at 349-50 (quoting operative complaint).
32 Td. at 353.

33 Td,

34 ECF Doc. No. 2 at p.17.

35 Id.

36 Td.

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37 ECF Doe. No. 2 at p. 17.
38 Id.
’ 39 Monell v. Department of Social Services, 436 U.S. 658 (1978).

4° Pennavaria v. Walton, No. 10-0415, 2010 WL 2650413, at *4 (W.D. Pa. June 30, 2010) (citing
Gregory v. Chehi, 843 F.2d 111, 120 Gd Cir. 1988)).

41 Helm v. Palo, No. 14-6528, 2015 WL 437661, at *9 (E.D. Pa. Feb. 3, 2015) (citing Kentucky v.
Graham, 473 U.S. 159, 166 (1985)).

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